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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                   Case No. 19-20195-KING

 ORGANIZATION OF PROFESSIONAL
 AVICULTURISTS, INC.,
        Plaintiff,
 v.
 MARGARET EVERSON, Principal Deputy
 Director, U.S. FISH AND WILDLIFE SERVICE,
 et al.
 _______________________________________/

                            JOINT STIPULATION OF MOOTNESS

         Plaintiff, Organization of Professional Aviculturists, Inc., and Defendants, Margaret
 Everson, Principal Deputy Director, U.S. Fish and Wildlife Service, et al. (together, the “Parties”),
 by and through their respective undersigned counsel, hereby stipulate that there are no further
 issues remaining for the Court to resolve regarding the Freedom of Information Act (5 U.S.C. §
 552, et seq. (“FOIA”)) requests underlying this lawsuit, and that this case may be dismissed as
 moot.

         Plaintiff further stipulates that any and all of its FOIA requests currently pending or on
 appeal before the Defendant agency, relating to FOIA requests which were identified in Plaintiff’s
 Amended Complaint (DE 10) (FWS-2019-00161, FWS-2019-00160, FWS-2019-00158, and
 FWS-2019-00157), are also moot. Plaintiff hereby releases Defendants from any claim related to
 such requests. Further, the Parties have resolved the issue of Plaintiff’s claim for attorney’s fees
 and costs. Defendants agree to pay Plaintiff the sum of $2,900.00 in full satisfaction of Plaintiff’s
 demand to recover its fees and costs.

         WHEREFORE, the Parties jointly stipulate that there are no further issues remaining for
 the Court to resolve and that the case is now moot.


 Dated: September 30, 2019
                                               /s/ Mark Andrew Prada
                                               MARK ANDREW PRADA
                                               Fla. Bar No. 91997
                                               Prada Urizar, PLLC
                                               3191 Coral Way, Suite 607
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on September 30, 2019, I filed the foregoing document with the Clerk
 of the Court, using the CM/ECF system.

                                              /s/ Carlos Raurell
                                              CARLOS RAURELL
                                              Assistant United States Attorney
